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  CULPEPPER IP, LLLC
  Kerry S. Culpepper, Bar No. 9837
  75-170 Hualalai Road, Suite B204
  Kailua-Kona, Hawai’i 96740
  Telephone: (808) 464-4047
  Facsimile: (202) 204-5181
  E-Mail:     kculpepper@culpepperip.com

  Attorney for Plaintiff
  42 Ventures, LLC
                           UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

   42 Ventures, LLC,                        )   Case No.: 1:20-cv-228-DKW-WRP
                                            )   (Trademark)
                      Plaintiff,            )
       vs.                                  )   STIPULATED CONSENT
                                            )   JUDGMENT BETWEEN
   Patrick Rend, et al.                     )   PLAINTIFF AND DEFENDANT
                                            )   PATRICK PETROV
                      Defendants.           )
                                            )
                                            )

              STIPULATED CONSENT JUDGMENT BETWEEN PLAINTIFF
                      AND DEFENDANT PATRICK PETROV

          As attested to by the below signatures of counsel for Plaintiff 42 Ventures,

  LLC (“Plaintiff”) and Defendant Patrick Petrov, this matter comes before the Court

  on the parties’ joint Stipulated Consent Judgment.

          Plaintiff has filed a First Amended Complaint alleging that Defendant Patrick

  Petrov is liable for trademark infringement and unfair competition for inter alia

  using a mark “YTS” identical and confusingly similar to Plaintiff’s registered



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        trademark YTS (Reg. No. 6,025,651) in his website YTS.WS.

                The parties, after conferral and investigation, now appear, Defendant Patrick

        Petrov, pro se, and Plaintiff through counsel to fully and finally resolve all claims

        between the parties and the matters before the Court and have moved for entry of

        this Stipulated Consent Judgment.

                  WHEREFORE IT IS HEREBY STIPULATED AND ORDERED for all

            matters relevant to this case between the parties as follows:

                  1. The parties agree that the Court has personal jurisdiction over the

            parties and venue is proper.

                  2. The parties agree that Plaintiff has a valid and enforceable trademark

            as identified in Exhibit “1” of the First Amended Complaint.

                  3. Defendant Patrick Petrov acknowledges that he has received

            independent legal advice from counsel or has had the opportunity to seek advice

            from counsel, with respect to the facts and this Stipulated Consent Judgment.

                  4. Defendant Patrick Petrov denies liability but acknowledges that his

            website uses the name “YTS.WS” that is identical and confusingly similar to

            Plaintiff’s registered trademark.

                  5. Pursuant to stipulation of the parties, the below Money Judgment,

            Permanent Injunction and Order is to be entered against Defendant Patrick Petrov.




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                    6. The Parties give the Court authority to modify the permanent

             injunction and the time period for which it will retain jurisdiction to enforce the

             money judgment and permanent injunction of this Stipulated Consent Judgment.

                                          MONEY JUDGMENT

                    A Money Judgment is awarded in favor of Plaintiff 42 Ventures, LLC

             against Defendant Patrick Petrov in the amount of $200,000 (Two hundred

             thousand dollars) for damages.

                                      PERMANENT INJUNCTION

                  Defendant Patrick Petrov and those under his control are hereby

            PERMANENTLY ENJOINED from directly, contributorily or indirectly

            infringing Plaintiff’s rights in its registered trademark.

                  Defendant Patrick Petrov agrees to remove the “YTS” label from his website

            YTS.WS within 30 days of entry of this Stipulated Judgment.

                  Defendant Patrick Petrov agrees to redirect the domain YTS.WS to a new

            non-infringing domain within 90 days of entry of this Stipulated Judgment.

                  This Court will retain jurisdiction until December 31, 2021 for the purposes

            of enforcing the Money Judgment, Permanent Injunction and Order.

                  Except as provided herein, each party is to bear their own costs and fees.

            With entry of this Consent Judgment, this matter is terminated with respect to

            Defendants Patrick Petrov and Patrick Rend aka Ivan Petrovic.


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                                            June   io
           DATED: Kailua-Kona, Hawaii, May_ , 2020 .


                                           CULPEP PER IP, LLLC


                                           Isl Kerry S. Culpepper
                                           Keny S. Culpepp er

                                           Attorney for Plaintiff


                                       June 10
            DATED: Moscow, Russia, May- _ _ , 2020.




                                           Patrick Petrov pro se



                 DATED: June 10, 2020 at Honolulu, Hawai'i.
           . APPRO VED AND SO ORDERED:

                                                        /s/ Derrick K. Watson
                                                        Derrick K. Watson
                                                        United States District Judge




             42 Ventures , LLC. v. Patrick Rend, et al; Case No. 1:20-cv-00228:..DKW-WRP;
             STIPULATED CONSENT JUDGNJENT BETWEEN P'LAINTIFF AND
             DEFENDANT PATRICK PETROV


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